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 7
 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
11   TESSIBLE “SKYLER” FOSTER;                    Case No. 2:23-cv-07441-AB-PVC
     MARIE SCOTT; and KRISTA
12   BAUMBACH, individually and on                Unopposed Motion and Memorandum of
13   behalf of all others similarly situated,     Points/Authorities in Support of Plaintiffs’
                                                  Motion for Approval of Attorneys’ Fees,
14              Plaintiffs,
                                                  Expenses, and Incentive Awards
15   V.                                           Judge: Hon. André Birotte, Jr.
16                                                Date: January 31, 2025 at 1:30 p.m.
     800-FLOWERS, INC., D/B/A 1-
17   800-FLOWERS.COM, HARRY &
18   DAVID, PERSONALIZATION
     MALL, SHARI’S BERRIES, 1-800-
19   BASKETS.COM, SIMPLY
20   CHOCOLATE, FRUIT
     BOUQUETS.COM, CHERYL’S
21   COOKIES, THE POPCORN
22   FACTORY, WOLFERMAN’S
     BAKERY, AND VITAL CHOICE,
23
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25
26
27
28   UNOPPOSED MOTION FOR ATTORNEYS’ FEES, EXPENSES, AND INCENTIVE AWARDS
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 1         Plaintiffs Tessible “Skyler” Foster, Marie Scott, and Krista Baumbach, hereby
 2   move on an unopposed basis for the award of attorneys’ fees, expenses, and service
 3   awards under the preliminarily approved class-wide Settlement Agreement (attached
 4   as Exhibit “A” to the Declaration of Frank S. Hedin (“Hedin Decl.”) submitted
 5   concurrently herewith) entered into between Plaintiffs and Defendant 800-Flowers,
 6   Inc. (“Flowers”) (collectively, the “Parties”).1
 7   I.    INTRODUCTION
 8         This is a putative class action that alleges Defendant engaged in an “automatic
 9   renewal” program with respect to its Celebrations Passport product that Defendant
10   sells on its network of websites and through other channels, including its telephone
11   lines, that plaintiffs contend violated California law. Defendant is a retailer of flowers
12   and gifts. Defendant’s Celebrations Passport is a membership program that provides
13   customers free shipping and no service fees for the first year of enrollment at a cost of
14   approximately $19.99 that then automatically renews every year after the initial year
15   at a higher price plus tax (the “Automatic Renewal Fee”) charged to the consumer’s
16   stored credit card, debit card or third-party payment account. Plaintiffs alleged in the
17   operative Second Amended Class Action Complaint (“SAC”) (ECF No. 45) that
18   before Defendant charged the Automatic Renewal Fees, it not only failed to obtain
19   Plaintiffs’ and other California consumers’ consent to be charged these fees, but
20   Defendant failed to even disclose the existence of the fee to them in a clear and
21   conspicuous manner. The SAC further alleges that by assessing the Automatic
22   Renewal Fees to Plaintiffs and other California consumers without providing adequate
23   notice or obtaining the requisite consent, Defendant violated California’s Automatic
24   Renewal Law (“ARL”), Cal. Bus. & Prof. Code § 17600, et. seq. and that such
25   violation, in turn, was a violation of California’s Unfair Competition Law, Cal. Bus.
26   1
        Unless otherwise defined herein, all capitalized terms have the same force,
27 meaning and effect as ascribed in Section II (“Definitions”) of the Settlement
   Agreement.
28                                    1
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 1   & Prof. Code § 17200, et. seq. The SAC sought as relief, among other things,
 2   damages, injunctive relief, and an award of attorneys’ fees.
 3         The Court has preliminarily certified the following class: “all Persons who
 4   purchased Celebrations Passport in California on or after September 7, 2019, through
 5   May 31, 2022, and who incurred at least one automatic renewal charge for
 6   Celebrations Passport that was not fully refunded.” (ECF No. 58 at 2). Confirmatory
 7   discovery has revealed that the Settlement Class is composed of approximately
 8   112,000 California consumers who hold or held a Celebrations Passport account.
 9         Defendant vigorously defended the litigation throughout. Indeed, this litigation
10   has spanned two filed actions, has involved multiple motions to compel various
11   representative plaintiffs in these actions to arbitration, multiple amended complaints
12   and related motions, document discovery, consultation with a retained expert, and
13   hours of conferral amongst the Parties, all of which culminated in a day-long mediation
14   that ultimately yielded the proposed Settlement.       Plaintiffs’ counsel thoroughly
15   investigated the claims alleged in this action, including reviewing the Celebrations
16   Passport accounts of numerous members of the Settlement Class and assessing
17   Defendant’s practices with respect to sales of Celebrations Passport, presentation of
18   autorenewal terms, and the methods of automatic renewal of Celebrations Passport at
19   various times.
20         In pursuing this action, Plaintiffs faced complex legal challenges related to
21   motion practice, understanding the automatic renewal practices at issue, evaluating the
22   plaintiffs’ claims, and genuine uncertainty as to the outcome of the matter.
23   Nonetheless, counsel was able to obtain relief for consumers statewide. Defendant has
24   agreed to fund a non-reversionary Common Fund in the amount of $1,200,000.00 from
25   which each Settlement Class Member who does not exclude him or herself will be
26   automatically paid a pro rata Settlement Share without the need to file a claim form.
27   By the instant motion, counsel seeks attorneys’ fees in the amount of $300,000.00 (25%
28                                    2
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 1   of the Common Fund) and Service Awards for the each of the representative Plaintiffs
 2   in the amount of $2,500.00 (for a total of $7,500), as provided in the Settlement
 3   Agreement.    Additionally, Class Counsel seeks the reimbursement of reasonable
 4   litigation costs not to exceed $14,000.00 (which is less than the amount actually
 5   expended by class counsel), which the parties agreed to at mediation and which
 6   agreement was memorialized in a binding term sheet.
 7         It is estimated that if the Settlement is finally approved with the amounts stated
 8   above, each Settlement Class Member who does not opt out will automatically receive
 9   between $6.60 and $6.67. 2
10         The requested attorneys’ fees represent 25% of the Common Fund, which is the
11   standard “benchmark” in the Ninth Circuit for common fund cases.                    The
12   reasonableness of Plaintiffs’ fee request is confirmed by a lodestar cross-check, which
13   reflects a current lodestar multiplier of less than 1.18 based on Class Counsel’s
14   historical hourly rates. However, Class Counsel’s fees will continue to rise as Class
15   Counsel undertakes the work necessary to complete the Settlement, including working
16   with the Claims Administrator to ensure the notice program is successfully concluded,
17   drafting the final approval motion and supporting documents, addressing any
18   objections from Settlement Class Members, appearing at the final approval hearing and
19   monitoring payments to the Settlement Class and the cy pres recipient, including
20   responding to payment inquiries. In light of this work, Class Counsel’s lodestar will
21   come very close to the $300,000 in fees sought, without a multiplier. Plaintiffs’
22   litigation costs and expenses, which were advanced by Class Counsel, were reasonably
23
24   2
         The per class member recovery was slightly reduced from the $6.90 to $6.99
25 range anticipated at the Preliminary Approval stage because the Settlement
   Administrator encountered a significantly higher bounce back rate for emailed Class
26 Notices, requiring the mailing of substantially more post card notices and that will
27 require the mailing of paper checks to these Settlement Class Members.
28                                    3
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 1   incurred and necessary to achieve the substantial results in this case. Though Plaintiffs’
 2   counsel expended more than $17,000 in costs, counsel have agreed to accept a cost
 3   reimbursement of $14,000.         Finally, Plaintiffs requested Incentive Awards are
 4   reasonable to compensate each named Plaintiff for the work they each performed in
 5   service to the Class. As detailed herein, Class Counsel’s request for attorneys’ fees and
 6   costs, and Incentive Awards for each named Plaintiff comports with the applicable law
 7   and is well-justified by the facts of this case.
 8          (a) Procedural History
 9          On April 20, 2023, after extensive prefiling investigation, Damon Tate,
10   represented by the undersigned, filed a putative class action against Defendant in the
11   Superior Court of Los Angeles County styled Tate v. 800-Flowers, Inc., alleging, as
12   here, that Defendant violated the ARL in connection with its Celebrations Passport
13   customer loyalty program.
14          At all times thereafter, Defendant vigorously defended the litigation. It removed
15   the case to the Central District of California, whereupon the case was assigned case
16   number 2:23-cv-04340-AB-PVC (C.D. Cal. filed June 2, 2024). (Tate, ECF No. 1). On
17   August 7, 2023, Defendant filed a motion to compel each of the Tate plaintiffs to
18   arbitration, stay the case pending arbitration, strike class claims, and to dismiss several
19   of the Tate plaintiffs for lack of standing. (Tate, ECF No. 16). On September 6, 2023,
20   the Tate plaintiffs voluntarily dismissed the action without prejudice. (Tate, ECF No.
21   22).
22          On September 7, 2023, plaintiff Foster, along with Anayancy Paiz, Susan
23   Finkbeiner, and Larissa Rapadas, filed the initial class action complaint in this Action
24   (ECF No. 1), which, like the Tate action, alleged that Defendant violated the ARL in
25   connection with its Celebrations Passport membership program.
26          On November 14, 2023, Defendant filed a motion to compel arbitration and stay
27   the case as to Anayancy Paiz and Larissa Rapadas, arguing that their purchase of
28                                    4
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 1   Celebrations Passport using the desktop computer sales channel bound them to terms
 2   and conditions which required arbitration of disputes. (ECF No. 14). In the same
 3   motion, Defendant moved to dismiss Ms. Finkbeiner for lack of standing. (Id.)
 4         On December 5, 2023, the plaintiffs filed a first amended complaint, which
 5   retained Tessible Foster, Anayancy Paiz, and Larissa Rapadas as representative
 6   plaintiffs, and added Marie Scott, Krista Baumbach, Kimberly Moore Keller and
 7   Latricia Anderson Thompson representative plaintiffs. (ECF No. 20).
 8         On January 18, 2024, Defendant filed a motion to compel Anayancy Paiz,
 9   Larissa Rapadas, Kimberly Moore Keller, Latricia Anderson Thompson, and Marie
10   Scott to arbitration, sought a stay of the case pending final resolution of the arbitrations,
11   and separately moved to dismiss Kimberly Moore Keller and Latricia Anderson
12   Thompson for lack of standing. (ECF No. 27).
13         Contemporaneously, Defendant answered the first amended complaint as to
14   plaintiffs Foster and Baumbach. (ECF No. 28).
15         The Parties filed a Case Management Stipulation on January 19, 2024, and a
16   stipulation regarding class certification briefing on February 1, 2024. (ECF No. 29,
17   31). The Court entered both stipulations. (ECF Nos. 34, 37).
18         On March 28, 2024, the Court granted Plaintiffs leave to file the SAC (ECF No.
19   43), which Plaintiffs sought to file in lieu of opposing the then-pending motion to
20   compel arbitration. On April 12, 2024, Plaintiffs filed the SAC (ECF No. 45), the
21   operative complaint in the Action. The SAC named Plaintiffs Foster, Scott, and
22   Baumbach as the only representative plaintiffs and, like each of the prior complaints,
23   alleged Defendant violated the ARL in connection with its Celebrations Passport
24   membership program. (Id.)
25         On May 10, 2024, Defendant filed a motion to compel Plaintiffs Baumbach and
26   Scott to arbitration and stay the case, or alternatively, to dismiss Plaintiff Baumbach
27   for lack of standing or strike the class action allegations as to Plaintiffs Baumbach and
28                                    5
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 1   Scott. (ECF No. 46). Defendant also filed an answer to the SAC as to Plaintiff Foster.
 2   (ECF No. 47).
 3         Plaintiffs prepared to oppose the motion by engaging and consulting a web
 4   design expert who examined the web flow that Defendant asserted bound Ms.
 5   Baumbach to arbitration. (Hedin Decl., ¶ 15). Plaintiffs also moved to adjourn the
 6   hearing on the Motion to Compel to take discovery on the factual issues raised in the
 7   Motion (ECF No. 49), which the Court granted (ECF No. 51).
 8         The Parties’ discussions concerning the scope of discovery needed as to the
 9   pending motion, turned towards a discussion concerning resolution of the Action.
10   (Hedin Decl., ¶ 16). The Parties agreed to engage Jill Sperber, Esq. of Judicate West,
11   a mediator with substantial experience mediating complex civil actions, including
12   consumer class actions. Plaintiffs agreed to mediate on the condition that in advance
13   of the mediation, Defendant had to provide Plaintiffs with class size information and
14   information concerning the number of automatic renewals paid by California
15   consumers across various sales channels. To facilitate the mediation, the Parties
16   stipulated to, and the Court granted, a 90-day enlargement of time of deadlines related
17   to the pending motion to compel arbitration and a 180-day enlargement of all other
18   case management deadlines, including trial. (ECF No. 52, 53).
19         On July 24, 2024, the Parties attended a full day of mediation before Ms.
20   Sperber. (Hedin Decl., ¶ 18). Before the mediation, Defendant provided the requested
21   class size and the sales channel information. (Id.)
22         The Parties each disclosed to the mediator (but did not exchange) position
23   statements. (Hedin Decl., ¶ 19). Plaintiffs’ statement set forth their evaluation of the
24   case, including their favorable assessment of prevailing on both the pending motion to
25   compel arbitration, the motion to dismiss Ms. Baumbach for lack of standing, and the
26   high likelihood of certifying a class. (Id.) Armed with the number of customers and
27   number of renewals, Plaintiffs were further able to make a cogent, good-faith
28                                    6
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 1   assessment of the range of potential damages, which informed the settlement
 2   negotiations. (Id.)
 3         The mediation concluded with a settlement in principle memorialized by a
 4   comprehensive term sheet executed by counsel for both Parties on July 24, 2024. Prior
 5   to the Parties executing the Settlement Agreement, Defendant produced to Plaintiffs a
 6   confirmatory sworn declaration which attested to the fact that there were 112,356 email
 7   addresses associated with California customers who purchased Celebrations Passport
 8   from September 7, 2019, through May 31, 2022, and who incurred at least one
 9   automatic renewal charge for Celebrations Passport that was not fully refunded.
10   (Hedin Decl., ¶ 22). The Parties worked together to select Kroll as a Settlement
11   Administrator upon joint review of Kroll’s comprehensive bid proposal, which
12   provided for every aspect of the proposed notice plan and which was in line with that
13   of similar class action settlement administrators. (Hedin Decl., ¶ 22). The parties
14   executed the Settlement Agreement on August 30, 2024. (Hedin Decl., ¶ 22).
15         The Court preliminarily approved the Settlement Agreement on October 3, 2024,
16   (ECF No. 58) finding that the relief provided was “fair, reasonable and adequate[.]”
17   (Id. at 2). On October 23, 2024, the Settlement Administrator initiated the Notice Plan
18   as required by the Court’s Order by emailing the approved notice to the 112,356 email
19   addresses belonging to members of the Settlement Class. (Hedin Decl., ¶ 30). On
20   November 11, 2025, 25,855 postcard notices were mailed to those Settlement Class
21   Members for whom the notice email could not be delivered. (Hedin Decl., ¶ 30). To
22   date the Settlement Administrator has only received two requests for exclusion and no
23   objections. (Hedin Decl., ¶ 30). The deadline for opt-outs and objections is December
24   23, 2024. (ECF No. 58 at 6).
25 II.     TERMS OF THE SETTLEMENT
26         Plaintiffs incorporate by reference pages 10-15 of Plaintiffs’ Unopposed Motion
27   for Preliminary Approval of Settlement, which sets out the terms of the Settlement.
28                                    7
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 1   (ECF No. 55-1). Notably, Class Counsel’s proposed Fee Award and Plaintiffs’
 2   proposed Incentive Awards are not conditions of the settlement, and are to be assessed
 3   separately from the Court’s review of the fairness, adequacy, and reasonableness of the
 4   Settlement Agreement. (Hedin Decl., Ex. A., ¶ 111). Consistent with the Settlement
 5   Agreement, Class Counsel’s request for fees does not exceed $300,000 and Defendant
 6   does not oppose the request. (Hedin Decl., Ex. A., ¶ 110). Further, and also consistent
 7   with the Settlement Agreement, Plaintiffs’ request for an Incentive Award does not
 8   exceed $2,500 per Plaintiff and Defendant similarly does not oppose this request.
 9   (Hedin Decl., Ex. A.,¶ 109).3
10         Class Counsel respectfully submits that the settlement achieved on behalf of the
11   class represents an excellent recovery given the nature of the claims and defenses, the
12   uncertainty associated with continuing litigation, and the maximum potential recovery
13   if this case proceeded to trial. The recovery of the settlement amount is directly
14   attributable to the efforts of Class Counsel and the perseverance of Plaintiffs. (Hedin
15   Decl., ¶ 44).
16 III.    ANALYSIS
17         (a) The Requested Award of Attorneys’ Fees and Expenses is Reasonable
18          The relief Class Counsel obtained on behalf of the Settlement Class, a $1.2
19   million non-reversionary, Common Fund with direct payments automatically made to
20   Settlement Class Members by check or electronic wallet, is substantial.           The
21   Settlement Agreement permits class counsel to seek a Fee Award of $300,000, the
22   equivalent of 25% of the value of the Common Fund, and the parties agree that the
23
     3
          Pursuant to the term sheet executed following the mediation, the parties agreed
24 that reasonable litigation costs would be separately reimbursable. The request for
25 reimbursement of costs was included in all class notices (ECF No. 55-3 at 48, 50, 53,
   57, 58) and in the Motion for Preliminary Approval wherein Class Counsel advised
26 they would seek a cost reimbursement not to exceed $14,000. (ECF No. 55-1 at 9, fn.
27 4). Defendant does not oppose the request for fees in the amount of $14,000.
28                                    8
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 1   Court may grant Plaintiff a separate reimbursement of $14,000 in litigation expenses.
 2   The requested Fee Award and cost reimbursement constitute a reasonable and fair fee
 3   and an appropriate reimbursement under Ninth Circuit authority. Accordingly, the
 4   Court should grant Class Counsel’s requested Fee Award and expenses.
 5         Plaintiffs bring this action alleging a violation of California’s UCL based on an
 6   underlying violation of California’s ARL statute. State law may apply to an award of
 7   attorneys’ fees in a class action if: (1) the court is sitting in diversity, see Hartless v.
 8   Clorox Co., 273 F.R.D. 630, 642 (S.D. Cal. 2011) (“In diversity actions, the Ninth
 9   Circuit applies state law to determine the right to fees and the method for calculating
10   fees.”); see also Parkinson v. Hyundai Motor Am., 796 F. Supp. 2d 1160, 1169 (C.D.
11   Cal. 2010) (holding that where the court was “sitting in diversity adjudicating state
12   law claims” it should apply state law to determining attorneys’ fees in a class action);
13   or, (2) where “state law claims predominate,” Sadowska v. Volkswagen Grp. of Am.,
14   Inc., No. CV 11-00665-BRO (AGRx), 2013 WL 9600948, at *7 (C.D. Cal. Sept. 25,
15   2013) (citing Mangold v. Cal. Pub. Utils. Comm'n, 67 F.3d 1470, 1478 (9th Cir.
16   1995)).
17         California law controls the fee award because Plaintiffs brought this class
18   action claim exclusively under California law (SAC ¶¶ 54-67.). See also Vizcaino v.
19   Microsoft Corp., 290 F.3d 1043, 1047 (9th Cir. 2002) (“Because Washington law
20   governed the claim, it also governs the award of fees.”). “Under California law, the
21   Court may use either the percentage-fee or lodestar method of recovery to calculate
22   attorneys’ fees where attorneys’ fees are paid from a common fund, as they are here.”
23   Zubia v. Shamrock Foods Co., No. CV1603128ABAGRX, 2017 WL 10541431, at
24   *15 (C.D. Cal. Dec. 21, 2017) citing Laffitte v. Robert Half Intern. Inc., 1 Cal. 5th
25   480, 503-504 (2016).
26
27
28                                    9
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 1

 2
           (b) The Requested Fee Award is Reasonable Under Both the Percentage of
               the Fund and Lodestar/Multiplier Methods.
 3
 4
           Ninth Circuit law is consistent, the District Court has discretion to apply

 5
     either the percentage-of-the-fund method or the lodestar/multiplier method to

 6
     determine reasonable attorneys’ fees. Hanlon v. Chrysler Corp., 150 F.3d 1011, 1029

 7
     (9th Cir. 1998) (overruled on other grounds). However, the Ninth Circuit has

 8
     repeatedly held that 25% of the gross settlement amount is the benchmark for

 9
     attorneys’ fees awarded under the percentage method and lodestar/multiplier method.

10
     See e.g., Lowery v. Rhapsody Int'l, Inc., 75 F.4th 985, 990 (9th Cir. 2023); In re Online

11
     DVD-Rental Antitrust Litig., No. 12-15705, 779 F.3d 934, 949 (9th Cir. 2015); In re

12
     Bluetooth Headset Prod. Liab. Litig., 654 F.3d 935, 942 (9th Cir. 2011). “The

13
     benchmark percentage should be adjusted, or replaced by a lodestar calculation, when

14
     special circumstances indicate that the percentage recovery would be either too small

15
     or too large in light of the hours devoted to the case or other relevant factors.” See Six
     Mexican Workers v. Arizona Citrus Growers, 904 F.2d 1301, 1311 (9th Cir. 1990).
16
17
     Whichever method is used, the fee award should take into account the particular

18
     factors in the case and must be “reasonable under the circumstances.” State of Fla. v.
     Dunne, 915 2d 542, 545 (9th Cir. 1990).
19
20         The percentage of the fund method for calculating a fee is the preferred method
21   in common fund cases.4 Craft v. County of San Bernardino, 624 F.Supp.2d 1113,
22
     4
           FEDERAL JUDICIAL CENTER, MANUAL FOR COMPLEX LITIGATION (FOURTH)
23
     §14.121 (2004) (“After a period of experimentation with the lodestar method . . . the
24   vast majority of courts of appeals now permit or direct district courts to use the
     percentage-fee method in common fund cases.”) (citations omitted); id. (The lodestar
25
     method is difficult to apply, time-consuming to administer, inconsistent in result, and
26   capable of manipulation”); In re Activision Securities Litigation, 723 F. Supp. 1373,
     1375 (N.D. Cal. 1989) (“This court is compelled to ask, ‘Is this process [lodestar]
27
     necessary’ Under a cost-benefit analysis, the answer would be a resounding, ‘No!’”)
28                                   10
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 1   1116 (C.D. Cal. 2008). In fact, the Ninth Circuit has recognized that the lodestar
 2   method “creates incentives for counsel to spend more hours than may be necessary
 3   on litigating a case so as to recover a reasonable fee, since the lodestar method does
 4   not reward early settlement.” Vizcaino, 290 F.3d at 1050, n.5; Moore v. James H.
 5   Matthews & Co., 682 F.2d 830, 840 (9th Cir. 1982) (“the lodestar’s emphasis on hours
 6   and billable rates woodenly inflates awards.”); see also Lewis v. Starbucks Corp., No.
 7   2:07-cv-00490-MCE-DAD, 2008 WL 4196690, at *7 (E.D. Cal. 2008) (awarding
 8   attorneys’ fees out of common fund using percentage method appropriate where early
 9   settlement achieved by plaintiff’s counsel); Glass v. UBS Financial Services, Inc., No.
10   C-06-4068 MMC, 2007 WL 221862, at *15-16 (N.D. Cal. 2007) (using lodestar
11   method would have penalized plaintiff’s counsel where early settlement was reached).
12         Class Counsel therefore seeks a fee award as a percentage of the common fund,
13   specifically 25%, but as is discussed below the requested fee is likewise fully justified
14   under a lodestar/multiplier approach.
15
16
           (c) The Requested Fee Award is Reasonable Under the Percentage of the
               Fund Method
17
18
           As stated above, the 25% benchmark for attorneys’ fees is a “starting point.”

19
     Lowery, 75 F.4th at 990. Higher or lower percentages may be appropriate based on all

20   the circumstances in a given case. See Vizcaino, 290 F.3d at 1048; Arizona Citrus

21   Growers, 904 F.2d at 1311. Courts in the Ninth Circuit have established a non-

22   exhaustive list of factors to determine the reasonableness of a fee request, including:

23
24 Third Circuit Task Force, Court Awarded Attorney Fees, 108 F.R.D. 237, 258 (3rd Cir.
25 1985), (characterizing the lodestar formula as a “cumbersome, enervating, and often
   surrealistic process of preparing and evaluating fee petitions”). See generally In re
26 Copley Pharmaceutical, Inc., 1 F. Supp. 2d 1407 (D. Wyo. 1998) (enumerating
27 advantages of percentage method).
28                                   11
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 1
     “(1) the results achieved; (2) the risk of litigation; (3) the skill required and quality of

 2
     work; (4) the contingent nature of the fee and the financial burden carried by the

 3
     plaintiffs; and (5) awards made in similar cases.” Eashoo v. Iovate Health Sciences

 4
     U.S.A., Inc., No. CV-15-01726-BRO-PJWX), 2016 WL 6205785, at *5 (C.D. Cal.,

 5   Apr. 5, 2016) (citing Vizcaino, 290 F.3d at 1048-50).

 6         Class Counsel seeks exactly 25% of the common fund, which matches the

 7   acknowledged benchmark, and each of the relevant factors recognized by the Ninth

 8   Circuit supports the reasonableness of Class Counsel’s fee request.

 9                1.     The Results Achieved
10
           As set forth in Plaintiffs’ Unopposed Motion for Preliminary Approval, which
11
     the Court granted on October 3, 2024, the Settlement Agreement’s benefits provide
12
     substantial relief to the Class. (ECF. No. 55-1 at 17-19; ECF No. 58). Specifically, the
13
     Settlement creates a $1.2 million Common Fund for the benefit of approximately
14
     112,000 members of the Settlement Class. (Hedin Decl., Ex. A ¶ 87; ¶¶ 94-97).         Each
15
     Settlement Class Member who does not exclude himself or herself will automatically
16
     receive a check or payment to an electronic wallet in the amount of between $6.60 and
17
     $6.67 without the need to file a claim form. Importantly, no part of the relief secured
18
     is in the form of coupons or credits and Settlement Class Members are receiving this
19
     cash payment on top of the benefit they originally received through their purchase of
20
     Celebrations Passport. See In re Easysaver Rewards Litig., 906 F.3d 747, 762 (9th Cir.
21
     2018) (citing In re Online DVD-Rental Antitrust Litig., 779 F.3d 934, 951 (9th Cir.
22
     2015)). Absent Plaintiffs and their counsel’s pursuit of this action, there would have
23
     been no monetary award to the Class; thus this litigation was required to bring about
24
     the substantial recovery obtained. Counsel who obtain “substantial relief” are entitled
25
     to full compensation for their efforts, see Schwarz v. Sec. of Health & Human Servs.,
26
27
28                                   12
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 1   73 F.3d 895, 901 (9th Cir. 1995), and based on the results achieved a 25% of the fund
 2   Fee Award is warranted.
 3                2.     Litigation Risk
 4
           As to the second Eschoo factor, this case involved several complex issues of fact
 5
     and law and presented significant risks for Class Counsel. The relief obtained for Class
 6
     Members represents a strong result, particularly given the risks and challenges of
 7
     ongoing litigation. Chief among them was Defendant’s vigorous and repeated attempts
 8
     to compel the Representative Plaintiffs to arbitration or to dismiss them for lack of
 9
     standing. Indeed, Defendant moved to compel to arbitration 6 of the 8 proposed
10
     representative plaintiffs in this action, and earlier moved to compel to arbitration as to
11
     all five representative plaintiffs in the Tate action. Ultimately, Defendant filed four
12
     separate motions to compel arbitration and dismiss for lack of standing in the two cases,
13
     which were directed at 12 of the 13 proposed representative plaintiffs. See generally
14
     Hedin Decl. ¶¶ 4-13.        Through Class Counsel’s continued investigation into
15
     Defendant’s various purchase channels and sales methods, Class Counsel was able to
16
     identify Representative Plaintiffs with cognizable claims to sustain this Action, despite
17
     Defendant’s repeated attempts to invoke arbitration. In fact, Defendant’s latest motion
18
     to compel Plaintiffs Baumbach and Scott to arbitration was pending while the Parties
19
     were mediating the case. And though Plaintiffs believe they would have defeated the
20
     motion had the Parties not reached the proposed Settlement, if Defendant won the
21
     motion, then it is possible that the claims of those consumers who used the same sales
22
     channels to purchase Celebrations Passport as Plaintiffs Baumbach and Scott (mobile
23
     and the 1-800 number respectively) would have been excluded from any potential
24
     class-wide relief. The risk of being unable to bring claims that were not subject to
25
     arbitration and, thus, appropriate for class-wide resolution was real and was confronted
26
     by Plaintiffs’ counsel head-on throughout the case.
27
28                                   13
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 1          Second, Defendant disputes that it violated the ARL’s requirement that notice of
 2   the ARL terms be “clear and conspicuous.” For written disclosures, this means “in
 3   larger type than the surrounding text, or in contrasting type, font, or color to the
 4   surrounding text of the same size, or set off from the surrounding text of the same size
 5   by symbols or other marks, in a manner that clearly calls attention to the language.”
 6   Cal. Bus. Prof. Code § 17601(c). For audio disclosures, this means in “a volume and
 7   cadence sufficient to be readily audible and understandable.” Id. Over the years,
 8   Defendant made several revisions to its sales channels and the methods in which it
 9   presented Celebrations Passport’s terms. Plaintiffs’ counsel was cognizant that if this
10   factual dispute had been resolved in Defendant’s favor, the outcome would have been
11   that fewer consumers than those who hold the approximately 112,000 email addresses
12   in Defendant’s records who stand to benefit under the proposed Settlement would have
13   received relief. Nonetheless, based on their substantial investigation including a
14   thorough examination of archived versions of Defendant’s website, Plaintiffs’ counsel
15   proceeded with the Action.
16          Third, and related to the first and second litigation risks just discussed, the Parties
17   disagree on whether the Settlement Class could be certified on a contested motion for
18   class certification. During the litigation and the Parties’ settlement discussions,
19   Defendant steadfastly maintained, inter alia, that individual issues among Settlement
20   Class Members would predominate and preclude class certification. (Hedin Decl. ¶
21   27).   For example, Defendant asserts that Plaintiffs Baumbach and Scott, and,
22   ostensibly, the many other proposed Settlement Class who purchased Celebrations
23   Passport in the same manner, agreed to arbitrate the claims alleged in this action and
24   waived their right to proceed in a class action. (Id.) In addition, separate from the issue
25   of whether certain class members agreed to arbitrate, Defendant indicated that it would
26   have opposed a contested motion for class certification by arguing that variations
27   across the content and context of its sales channels’ disclosures of the ARL terms at
28                                   14
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 1   different times require an individualized determination of the ARL notice Settlement
 2   Class received at the time of their purchase of Celebrations Passport. (Id.) While
 3   Plaintiffs disagree and believe the Settlement Class is well-suited for certification,
 4   including on a contested basis, winning class certification was still far from a sure thing
 5   and Plaintiffs’ counsel accepted the risk of proceeding with the Action nonetheless.
 6         Fourth, Plaintiffs’ counsel had to contend with the fact that Defendant had viable
 7   damages defenses that could have substantially impacted a potential recovery.
 8   Defendant argued that Plaintiffs waived any right to recovery by making voluntary
 9   payments for Celebrations Passport; that they were on notice of the automatic renewal
10   by virtue of the charge after the first year; and, potentially, that accepting the benefits
11   of Celebrations Passport should offset any damages. (Hedin Decl., ¶ 27).            These
12   defenses also posed a significant litigation risk.
13                3.     Skill Required and Adequacy of Work
14
           Class Counsel is a law firm well-versed in large scale class action work of
15
     national importance. (Hedin Decl., ¶¶ 33-34). The attorneys working on this matter
16
     have been appointed class counsel and lead counsel through both certification and
17
     settlement of numerous class actions. (Id.) Class Counsel’s experience in consumer
18
     class actions was integral in evaluating the strengths and weaknesses of the case against
19
     Defendant, as well as the reasonableness of the Settlement. These evaluations included
20
     an analysis of the relief ultimately obtained, the probable hurdles to class certification,
21
     and merits and damages defenses. Class Counsel spent significant effort and exhibited
22
     considerable skill in developing the factual and legal claims in the case, refining these
23
     claims through multiple amendments of the complaint informed by counsel’s ongoing
24
     investigation, and in negotiating broad relief under a maximally efficient settlement
25
     structure for every Member of the Settlement Class despite Defendant’s vigorous
26
     opposition to Plaintiffs’ claims and its asserted legal and factual defenses thereto.
27
28                                   15
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 1   Through these efforts and in the face of difficult issues of fact and law, Class Counsel
 2   obtained meaningful monetary relief that each member of the Settlement Class who
 3   does not exclude himself or herself will automatically receive without protracted and
 4   costly litigation.
 5                 4.     The Contingent Nature of the Fee
 6
            Class Counsel undertook and funded this litigation on a purely contingent basis,
 7
     with no assurance of recovering any out-of-pocket expenses or attorneys’ fees. (Hedin
 8
     Decl., ¶ 37). Class Counsel expended considerable time and resources to investigate
 9
     and prosecute the case successfully on behalf of the Class. (Id.) Counsel undertook
10
     substantial risk of non-payment, and the percentage fee request here will fairly
11
     compensate Counsel for this risk.
12
                   5.     Awards Made in Similar Cases
13

14          The 25% fee sought here is in accord with the established 9th Circuit practice,
15   with rulings of district courts within California, this Court’s fee determinations in
16   recent class actions, and with similar cases involving California ARL violations. Class
17   Counsel’s request for 25% of the common fund is the exact benchmark set by the Ninth
18   Circuit. See Vizcaino, 290 F.3d at 1047; Craft, 624 F. Supp. 2d at 1127 (holding
19   attorneys’ fees for mega-fund cases are typically under 25% while cases that settle
20   below $10 million are often more than the 25% benchmark); see also In re Pacific
21   Enterprises Sec. Litig., 47 F. 3d 373, 379 (9th Cir. 1995) (awarding 33.3% of the fund);
22   Palmer v. Nigaglioni, 508 F. App’x. 658, 658 (9th Cir. 2013) (28%); Vizcaino, 290 F.
23   3d at 1048-50 (28%); Glass v. UBS Fin. Servs., Inc., 331 F. App’x. 452, 457 (9th Cir.
24   2009) (25%); Pincay Investments Co. v. Covad Commc’ns Grp., 90 F. App’x. 510, 511-
25   12 (9th Cir. 2004) (25%); Torrisi v. Tucson Elec. Power Co., 8 F. 3d 1370 (9th Cir.
26   1993) (25%).
27
28                                   16
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 1

 2   A review of California cases in other districts demonstrates that courts often award
 3   attorneys’ fees exceeding the benchmark in the range of 30-40% in class actions that
 4   result in recovery of a common fund under $10 million. See Vasquez v. Coast Valley
 5   Roofing, Inc. 266 F.R.D. 482, 491-92 (E.D. Cal. 2010) (citing to five recent class
 6   actions where federal district courts approved attorney fee awards ranging from 30 to
 7   33%); Singer v. Becton Dickinson and Co., 2010 WL 2196104, at * 8 (S.D. Cal. 2010)
 8   (approving attorney fee award of 33.33% of the common fund and holding that award
 9   was similar to awards in three other class action cases where fees ranged from 33.3%
10   to 40%); Romero v. Producers Dairy Foods, Inc., 2007 WL 3492841 (E.D. Cal. 2007);
11   Young v. Polo Retail, LLC, 2007 WL 951821, at *5-8 (N.D. Cal. 2007) (awarding 31%
12   of $1.4 million in case alleging store forced employees to purchase and wear store
13   merchandise).
14         This Court has approved similar fee awards in recent cases involving settlement
15   funds of a similar size. See e.g., Haro v. Laboratory Corp. of Am., 2:18-cv-09091-AB,
16   ECF No. 49 (C.D. Cal. Nov. 18, 2020) (citing Van Vranken v. Atlantic Richfield Co.,
17   901 F. Supp. 294, 298 (N.D. Cal. 1995) and awarding 30% of $1.25 million common
18   fund as attorneys’ fees finding such fees “reasonable for contingency fee class action
19   such as this[.]”);      Laster v. Hartford Life & Accident Ins. Co., No.
20   217CV00851ABJEMX, 2019 WL 12529140, at *6 (C.D. Cal. Jan. 14, 2019) (awarding
21   33% of $1.5 million settlement fund as attorneys’ fund); Ruacho v. Multi Cable, Inc.,
22   No. 2:15-CV-05592-AB-FFM, 2018 WL 6164302, at *2 (C.D. Cal. Sept. 4, 2018)
23   (awarding attorneys’ fee award equivalent to 32% of the $1.8M settlement fund).
24   Moreover, the fee award sought by Class counsel in this case is in accord with recent
25   attorney fee awards under the same California ARL statute. See Kissel v. Code 42
26   Software, Inc., No. 8:15-cv-01936-JLS-KES, ECF No. 60 at 2, (C.D. Cal. Mar. 5, 2018)
27   (approving 25%, $100,000 fee award paid from $400,000 Common Fund in action
28                                   17
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 1   involving alleged violation of California ARL); King v. Bumble Trading, Inc., No.
 2   5:18-cv-06868-NC, ECF No. 133 at 15, (N.D. Cal. Dec. 18, 2020) (awarding 25% of
 3   $22.5 million settlement fund ($5,625,000.00) for attorneys’ fees in case alleging
 4   violation of California ARL).
 5         In short, Class Counsel invested substantial time and money at significant risk
 6   of nonpayment in a complicated case. The requested fee is fair compensation, and fully
 7   in accord with percentage awards granted in similar actions. A lodestar cross-check
 8   also confirms the reasonableness of the requested percentage fee, as set forth below.
 9

10
           (d) Class Counsel’s Lodestar Confirms the Reasonableness of Its Fee
               Request
11
12         The reasonableness of Class Counsel’s fee request is further confirmed by its
13   lodestar. When the lodestar approach is used, multiplying the number of hours counsel
14   worked by a reasonable hourly rate establishes the lodestar. In re Wash. Pub. Power
15   Supply Sys. Sec. Litig., 19 F.3d 1291, 1295 (9th Cir. 1994).5 After the lodestar has been
16   determined, the Court may apply a multiplier to the lodestar when “(1) attorneys take
17   a case with the expectation that they will receive a risk enhancement if they prevail, (2)
18   their hourly rate does not reflect that risk, and (3) there is evidence that the case was
19   risky.” Fischel v. Equitable Life Assur. Society of U.S., 307 F.3d 997, 1008 (9th Cir.
20   2002) (internal citation omitted). A number of factors are relevant to the application
21
22   5
         “[A] [lodestar] cross-check is not required so long as the court achieves a
23 reasonable result using the method it selects.” Senne v. Kansas City Royals Baseball
   Corp., No. 14-cv-00608 JCS, 2023 WL 2699972, at *18 (N.D. Cal. Mar. 29,
24 2023), aff'd sub nom. Senne v. Concepcion, No. 23-15632, 2023 WL 4824938 (9th Cir.
25 June 28, 2023) (citations omitted).
26
27
28                                   18
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 1   of a multiplier, including: (1) the time and labor required, (2) the novelty and difficulty
 2   of the questions involved, (3) the skill requisite to perform the legal service properly,
 3   (4) the preclusion of other employment by the attorney due to acceptance of the case,
 4   (5) the customary fee, (6) whether the fee is fixed or contingent, (7) time limitations
 5   imposed by the client or the circumstances, (8) the amount involved and the results
 6   obtained, (9) the experience, reputation, and ability of the attorneys, (10) the
 7   “undesirability” of the case, (11) the nature and length of the professional relationship
 8   with the client, and (12) awards in similar cases. Carter v. Caleb Brett LLC, 757 F.3d
 9   866, 869 (Cal. App. 9th 2014); see also Hanlon, 150 F.3d at 1029 (the court may apply
10   a multiplier “to account for several factors including the quality of the representation,
11   the benefit obtained for the class, the complexity and novelty of the issue presented,
12   and the risk of nonpayment”). Many of these factors overlap with the five factors from
13   Eashoo cited above for the reasonableness of the percentage fee request and equally
14   support the reasonableness of the requested fee under the lodestar method.
15         At the outset, Class Counsel notes that with the work left to be done in this case,
16   that Class Counsel’s lodestar, without a multiplier, will come very close to the
17   $300,000 percentage-based fee provided for under the Settlement Agreement. As set
18   forth in the Hedin Declaration, counsel has expended 387.8 hours on the case to date:
19
20    Timekeeper         Title/Graduation Year         Rate      Hours      Individual
                                                                            Lodestar
21    Frank S. Hedin     Managing Partner (2012)       $825      42.5       $35,062.50
22    Arun Ravindran     Counsel (2007)                $700      230.2      $161,140.00
      Paula Buzzi        Counsel (2012)                $500      80.0       $40,000.00
23    Julie Holt         Counsel (2011)                $600      22.0       $13,200.00
24    Elliot Jackson     Associate (2021)              $450      13.1       $5,895.00
      Total                                                      387.8      $255,297.50
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26
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28                                   19
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 1   Multiplied by its reasonable hourly rates, which are comparable to those of other class
 2   action attorneys and reasonable in light of the skill and experience of Class Counsel,
 3   this amounts to a total lodestar of $255,297.50. (Hedin Decl., ¶ 38). A multiplier of
 4   1.18 against the current lodestar yields the $300,000 Fee Award sought. However, this
 5   multiplier will be reduced as counsel undertakes the substantial work necessary to fully
 6   achieve the Settlement and conclude the representation. Specifically, Counsel will
 7   need to work with the Settlement Administrator to ensure the completion of the Notice
 8   Plan, draft the motion for final approval and all supporting documents, address any
 9   objections, appear at the final approval hearing, work with the Settlement
10   Administrator to ensure proper distribution of payments to class members and cy pres
11   recipient, and field questions from Settlement Class Members about their rights under
12   the Settlement.
13                1.    Reasonable Hourly Rate and Time Expended
14
           First, the Court must first determine the reasonableness of Class Counsel’s
15
     hourly rate. See In re Toys R Us-Delaware, Inc.--Fair & Accurate Credit Transactions
16
     Act (FACTA) Litig., 295 F.R.D. 438, 460 (C.D. Cal. 2014). Class Counsel’s hourly
17
     rates are reasonable. (Hedin Decl. ¶ 39). The test for the reasonableness of an
18
     attorney’s hourly rate is based on “the rate prevailing in the community for similar
19
     work performed by attorneys of comparable skill, experience, and reputation.” See
20
     Chalmers v. City of Los Angeles, 796 F. 2d 1205, 1210-11 (9th Cir. 1986); see also
21
     Children’s Hosp. & Med. Ctr. v. Bunt, 97 Cal. App 4th 740, 783 (2002) (approving
22
     hourly rates that were “within the range of reasonable rates charged by and judicially
23
     awarded comparable attorneys for comparable work”); see also Lusk v. Five Guys
24
     Enterprises LLC, No. 1:17-CV-0762 JLT EPG, 2023 WL 4134656, at *27 (E.D. Cal.
25
     June 22, 2023) (the “‘relevant community’ for purposes of determining the prevailing
26
27
28                                   20
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 1   market rate is the “forum in which the district court sits.”) quoting Camacho v.
 2   Bridgeport Fin., Inc., 523 F.3d 973, 979 (9th Cir. 2008).
 3         While several attorneys at Hedin LLP worked on this matter, the work was
 4   allocated in the most cost-effective manner. The preliminary investigation and the day-
 5   to-day litigation were conducted by Counsel-level attorneys, with supervision
 6   performed by the undersigned, Frank Hedin. Hedin LLP billed this case at its usual and
 7   customary hourly billing rates, which are reasonable within the Los Angeles market.
 8   See e.g., Notorious B.I.G. v. Yes. Snowboards, No. CV 19-1946-JAK (KSX), 2020 WL
 9   6154195, at *4 (C.D. Cal. Sept. 18, 2020) (collecting cases and finding similar rates of
10   comparably experienced attorneys to be reasonable within the Los Angeles market); In
11   re Toys R Us-Delaware, Inc.--Fair & Accurate Credit Transactions Act (FACTA)
12   Litig., 295 F.R.D. 438, 464 (C.D. Cal. 2014) (collecting cases and finding that similar
13   rates of comparably experience attorneys in consumer class action to be fair and
14   reasonable within the Los Angeles market); cf. Ingram v. Oroudjian, 647 F.3d 925,
15   928 (9th Cir. 2011) (observing “it is proper for a district court to rely on its own
16   familiarity with the legal market” in determining a reasonable rate). Here, the attorneys
17   of Hedin LLP have billed at an hourly rate comparable to similarly experienced
18   attorneys in the Los Angeles market and the Court should deem the firm’s rates to be
19   reasonable.
20                 2.   Reasonable Multiplier
21
           Once calculated, the lodestar can be adjusted upward using a “multiplier” based
22
     on several factors, including: the novelty and difficulty of the litigation; Class
23
     Counsel’s skill in handling it; the burdens imposed by taking on the case; the contingent
24
     nature of the Fee Award; and the quality of the results achieved. See Bluetooth, 654 F.
25
     3d at 942. Multipliers in the range of three to four are commonly approved in class
26
     action litigation. See, e.g., Vizcaino, 290 F. 3d at 1050-54 (upholding a multiplier of
27
28                                   21
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 1   3.65 and noting multipliers as high as 19.6); Van Vranken, 901 F.Supp. at 298 (N.D.
 2   Cal. 1995) (“Multipliers in the 3-4 range are common in lodestar awards for lengthy
 3   and complex class action litigation.”).
 4         As indicated, Counsel’s lodestar to date is $255,297.50. Presently, the lodestar
 5   multiplier sought is 1.18. This modest multiplier, which will be reduced as counsel
 6   expends more time to complete the tasks required to conclude the Settlement (described
 7   above), is warranted in light of the complex legal and factual issues involved in this
 8   litigation; the work performed and skill required by Class Counsel in handling those
 9   complex issues; the significant risks, costs, and uncertainties borne by Class Counsel
10   in taking this case on contingency; and most importantly, the significant results
11   obtained by Class Counsel. See Elser v. I.A.M. Nat. Pension Fund, 579 F. Supp. 1375,
12   1381 (C.D. Cal. 1984) (finding a 1.2 multiplier to adequately compensate counsel for
13   taking the case on a contingency fee basis); Quevedo v. New Albertsons, Inc, No.
14   SACV131160JLSJPRX, 2015 WL 10939716, at *7 (C.D. Cal. May 27, 2015)
15   (same); Good Morning to You Prods. Corp. v. Warner/Chappell Music, Inc., No.
16   CV134460GHKMRWX, 2016 WL 6156076, at *16 (C.D. Cal. Aug. 16, 2016) (same).
17   Other federal district courts in the Ninth Circuit have similarly approved a 1.2
18   multiplier on the basis that class counsel undertook the case on a contingency basis.
19   See e.g., McIntosh v. McAfee, Inc., No. C06-07694 JW, 2009 WL 673976, at *4 (N.D.
20   Cal. Mar. 13, 2009) (finding a lodestar multiplier of 1.2 warranted solely on the basis
21   that class counsel undertook the case on a contingency basis.); Bohannon v. Facebook,
22   Inc., No. 12-CV-01894-BLF, 2016 WL 3092090, at *11 (N.D. Cal. June 2,
23   2016); Ramgen Power Sys. LLC v. Agilis Eng'g Inc., No. C12-1762 MJP, 2015 WL
24   362733, at *4 (W.D. Wash. Jan. 27, 2015) (collecting cases). Counsel respectfully
25   submits that the award of a 1.2 multiplier is warranted and consistent with Ninth Circuit
26   practice.
27
28                                   22
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 1
           (e) Class Counsel’s Request for Reimbursement of Reasonable Expenses of
               $14,000 is Warranted
 2
 3         Class Counsel has incurred out-of-pocket expenses exceeding $17,000. (Hedin
 4   Decl., ¶ 41). “Reasonable costs and expenses incurred by an attorney who creates or
 5   preserves a common fund are reimbursed proportionately by those class members who
 6   benefit from the settlement.” In re Media Vision Tech. Sec. Litig., 913 F. Supp. 1362,
 7   1366 (N.D. Cal. 1996) (citing Mills v. Elec. Auto-Lite Co., 396 U.S. 375, 391-92
 8   (1970)); see also Fed. R. Civ. P. 23(h). The expenses must be relevant to the litigation
 9   and reasonable in amount. Id. at 1266. Plaintiffs’ counsel has agreed to limit its costs
10   reimbursement to $14,000.6
11         “The common fund doctrine provides that a private plaintiff, or plaintiff's
12   attorney, whose efforts create, discover, increase or preserve a fund to which others
13   also have a claim, is entitled to recover from the fund the costs of his litigation….”
14   Zilhaver v. UnitedHealth Group, Inc. 646 F.Supp.2d 1075, 1084-85 (D. MN. 2009).
15   Class Counsel’s expenses to date include the following: (1) filing and service fees; (2)
16   Plaintiffs’ share of the Mediation fees; and (3) expert consultation fees. (Hedin Decl.,
17   ¶ 41). Class Counsel put forward these out-of-pocket expenses without assurance they
18   would be repaid, and these expenses were necessary to secure the resolution of this
19   litigation. Harris v. Marhoefer, 24 F.3d 16, 19 (9th Cir. 1994) (holding that attorneys
20   may recover reasonable expenses that would typically be billed to paying clients in
21
22   6
            As discussed, the parties executed a binding term sheet at the conclusion of the
23   mediation, which contemplated Class Counsel being reimbursed for reasonable fees.
     While the Settlement Agreement states attorneys’ fees are “inclusive of costs” (Hedin
24   Decl. Ex. A, ¶ 110), the parties agree that advanced costs are separately recoverable.
25   Plaintiffs advised in the Motion for Preliminary approval that they would separately
     seek a reimbursement of costs not to exceed $14,000 (ECF No. 55-1 at 9; fn. 4) and all
26   class notices specifically advised that Class Counsel would separately seek the
27   reimbursement of “reasonable costs” (ECF No. 55-3 at 48, 50, 53, 57, 58).
28                                   23
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 1   non-contingency matters); see also In re Immune Response Sec. Litig., 497 F. Supp. 2d
 2   1166, 1177-78 (S.D. Cal. 2007) (finding that costs such as filing fees, photocopy costs,
 3   travel expenses, postage, telephone and fax costs, computerized legal research fees,
 4   and mediation expenses are relevant and necessary expenses in a class action
 5   litigation). Plaintiffs submit that a reimbursement of $14,000 in costs advanced by
 6   Plaintiffs’ counsel is warranted.
 7
 8
           (f) The Proposed Incentive Award for the Class Representatives is
               Reasonable
 9

10         Finally, the Settlement Agreement provides that each Plaintiff may seek, without
11   objection by Defendant, a service award in the amount of $2,500. (ECF No. 55-3, ¶
12   109). It is customary and appropriate to provide a service award to named plaintiffs
13   where the plaintiffs have performed services to the Class as their representatives.
14   Rodriguez    v.   W.   Publ’g    Corp.,    563    F.3d   948,    958   (9th   Cir.   2009)
15   (“Incentive awards are fairly typical in class action cases.”); Eddings v. Health Net,
16   Inc., No. CV 10–1744–JST (RZX), 2013 WL 3013867, at *7 (C.D. Cal. 2013) (“Courts
17   have the discretion to award incentive payments to named plaintiffs as compensation
18   for their actions taken on behalf of the class.”). “In the Ninth Circuit, a $5,000 incentive
19   award is “presumptively reasonable.””            Mergens v. Sloan Valve Co., No.
20   CV1605255SJOSKX, 2017 WL 9486153, at *13 (C.D. Cal. Sept. 18, 2017).
21          Here, Plaintiffs represent over one hundred thousand California consumers who
22   alleged they were automatically billed on a recurring basis for Celebrations Passport,
23   “free shipping” program, without receiving adequate notice of the Celebrations
24   Passport’s automatic renewal terms, the $10 price increase after the first year of
25   enrollment, or post-purchase notice of an impending renewal. (SAC. ¶¶ 27-40).
26   Plaintiffs participated in every stage of the investigation including: providing facts and
27   follow-up related to their purchases of Celebrations Passport, requesting, obtaining,
28                                   24
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 1   and providing documentary support therefor, reviewing the operative Complaint and
 2   prior iterations, reviewing the allegations of the Motions to Compel arbitration,
 3   participating in scheduling and case management for this matter, and consistently
 4   weighing in on and ultimately approving of the Class Settlement. (Hedin Decl., ¶42).
 5   The $2,500 service award that each Plaintiff requests (which, in total represents less
 6   than 1% of the Common Fund) is presumptively reasonable and is on par with service
 7   awards in recent Ninth Circuit class action cases. See e.g., Tabak v. Apple, Inc., No.
 8   19-CV-02455-JST, 2024 WL 4642877, at *8 (N.D. Cal. Oct. 30, 2024) (approving
 9   incentive awards of $3,000 to each named plaintiff); Elgindy v. AGA Serv. Co., No. 20-
10   CV-06304-JST, 2024 WL 4634060, at *11 (N.D. Cal. Oct. 29, 2024) (approving
11   service awards of $5,000 to each named plaintiff); Bloom v. City of San Diego, No. 17-
12   CV-02324-AJB-DEB, 2024 WL 4495512, at *8 (S.D. Cal. Oct. 15, 2024) (approving
13   incentive awards of $7,500 to each named plaintiff); Weiner v. Ocwen Fin. Corp., No.
14   2:14-CV-02597-DJC-SCR, 2024 WL 4458383, at *6 (E.D. Cal. Oct. 10, 2024)
15   (approving incentive award of $5,000 to named plaintiff). Accordingly, Plaintiffs
16   submit that a $2,500 service award (a total of $7,500 paid from the Common Fund) is
17   reasonable and appropriate under the circumstances and should be approved.
18 IV.     CONCLUSION
19         For the foregoing reasons, Plaintiffs respectfully request that the Court grant the
20   motion and order the following payments from the Common Fund: (1) an attorneys’
21   Fee Award of $300,000; (2) costs in the amount of $14,000; and (3) a payment of an
22   Incentive Award of $2,500 to each Representative Plaintiff – Tessible “Skyler” Foster,
23   Marie Scott, and Krista Baumbach.
24

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 1
     Dated: December 2, 2024             Respectfully submitted,

 2                                       HEDIN LLP
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